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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NOTHERN DISTRICT OF ILLINOIS

SIGMA CORPORATION OF AMERICA,

Plaintiff,                                     Civil Action No.
v.
                                               COMPLAINT
KHOROVSKY ENTERPRISES INC.
D/B/A WOODLAND HILLS CAMERA &                  JURY DEMANDED
TELESCOPES,

Defendant.


                                         COMPLAINT

        Plaintiff SIGMA Corporation of America (“SIGMA America”), by and through its


undersigned counsel, brings this complaint against Defendant Khorovsky Enterprises Inc. D/B/A


Woodland Hills Camera & Telescopes for their violations of the Lanham Act, deceptive trade


practices, and unfair competition. In support thereof, based on knowledge or information and


belief formed after a reasonable inquiry, SIGMA America alleges as follows:


I.      PARTIES


        SIGMA America


        1.       SIGMA America sells, markets, distributes, and provides repairs and services


of optical devices made by a globally-acclaimed manufacturer in Japan, SIGMA Corporation


(“SIGMA Japan”). SIGMA America is a leading provider of premium camera lenses, digital


cameras, flashes, accessories, and video-related products in the United States, Brazil, Argentina,




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Costa Rica, and Panama. SIGMA Japan’s cutting-edge, reliable optical technology is adapted to


reflect the diverse demand of photo enthusiasts and satisfy camera users.


       2.         SIGMA America is a New York corporation organized and existing under the


laws of the state of New York with a principal place of business at 15 Fleetwood Court,


Ronkonkoma, NY 11779.


       3.         SIGMA Japan and its subsidiary SIGMA America (collectively “SIGMA”)


have taken extensive measures to maintain the high quality and functionality of SIGMA


products. SIGMA engineers, sales representatives, and authorized distributors work together to


achieve exceptional device performance and user experiences. SIGMA America sells and


distributes products, manages product promotions and advertisement, establishes authorized


dealerships, standardization and execution of product inspections, servicing, repairs, and


customer service for all SIGMA Japan products sold in the United States. SIGMA America

monitors the integrity and quality of genuine SIGMA products, and handles user feedback and


complaints. SIGMA America promotes and protects SIGMA’s good will, reputation, brand image


in the United States, thus protecting SIGMA’s famous trademarks (the “SIGMA Marks”).


SIGMA America is SIGMA Japan’s exclusive licensee for use of the SIGMA Marks in the


United States, in connection with the sale, distribution, support, and servicing of cameras, lenses,


and other photo equipment bearing those marks (“Genuine SIGMA Products”).


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       4.        Since 1961, SIGMA Japan has conducted extensive research and development


activities and has discovered groundbreaking technologies such as SIGMA’s autofocus


technology. Every lens, camera, and accessory are carefully manufactured and thoroughly


inspected before the SIGMA Marks are attached. SIGMA’s quality control department employs


strict standards for the compliance to specifications, device performance, visual appearance, and


the like. SIGMA Japan analyzes results of product examinations and other quality control data,


communicates with registered users and authorized dealers, and updates user manuals.


       5.        SIGMA packages Genuine SIGMA Products with U.S.-specific warranty cards


and accessories. Consumers who purchase a new genuine SIGMA brand product directly from


SIGMA America or one of its authorized U.S. dealers are exclusively entitled to coverage under


SIGMA America’s warranty, complimentary product repair, and customer service performed


directly by SIGMA America.

       Defendant Woodland Hills


       6.        On information and belief, Khorovsky Enterprises Inc. d/b/a Woodland Hills


Camera & Telescopes (“Woodland Hills”), based in Woodland Hills, California, is a California


corporation organized and existing under the laws of California with a registered service address


of 5348 Topanga Cyn Blvd. Woodland Hills, CA 91364 and doing business there, as well as


online including at https://whcamera.com/, https://telescopes.net/, and through Amazon.com at


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https://www.amazon.com/s?i=merchant-items&me=A3LTL8KVF3JJKW (the “Woodland Hills


Amazon Storefront”).


       7.         Woodland Hills is not an authorized distributor of Genuine SIGMA Products in


the United States.


       8.         On information and belief, Woodland Hills instead sells materially different


“gray market” products, initially purchased outside the United States, to U.S. consumers and


without U.S.-specific warranty cards or accessories found with Genuine SIGMA Products


(“Deceptive Products”). Woodland Hills generates substantial sales of these unauthorized and


non-genuine Deceptive Products, which it improperly and without authorization markets and


sells as if they were Genuine SIGMA Products, including via its online storefront and platforms


such as Amazon.


       9.         On information and belief, Woodland Hills purchases the Deceptive Products

sold in other jurisdictions like China and Australia, from sellers who do not transact business


with SIGMA America or authorized U.S. dealers. On information and belief, Woodland Hills


then and sells the Deceptive Products to U.S. consumers at prices well below the price of


Genuine SIGMA Products in the United States. This way, Woodland Hills can undercut


authorized dealers who supply Genuine SIGMA Products.




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       10.        Benefiting from deceptive marketing, Woodland Hills lures consumers with


huge markdowns, falsely advertises the Deceptive Products “are SIGMA devices” so that


consumers would be tricked into believing that the Deceptive Products were Genuine SIGMA


Products. Woodland Hills is not, and has never been authorized by SIGMA to sell SIGMA


products or use the SIGMA Marks in the United States.


       11.        Woodland Hills markets the Deceptive Products to maximize its sales, without


disclosing that the Deceptive Products are unauthorized in the United States. Woodland Hills


deliberately causes consumer confusion, creates deception as to the source, sponsorship,


affiliation, geographical origin, characteristics, authenticity, and/or quality of the Deceptive


Products. Woodland Hills’ sales of the Deceptive Products blemishes SIGMA’s impeccable


reputation in optical devices. Further, Woodland Hills dilutes famous SIGMA Marks by


spreading negative images about the SIGMA brand and gives the impression of suboptimal

product quality and poor post-sale services. Woodland Hills has caused and will continue to


cause irreparable harm to SIGMA’s reputation and goodwill unless such conduct is enjoined. To


prevent Woodland Hills’ deceptive trade practices and unfair competition, SIGMA America seeks


injunctive relief and an accounting of ill-gotten profits, along with costs, attorney’s fees, punitive


damages and other relief as more fully set forth below.




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II.     JURISDICTION AND VENUE


        12.       This Court has jurisdiction over Plaintiff’s federal claims under 15 U.S.C. §§


1121 and 1125, under 28 U.S.C. §§ 1331, 1332, 1338(a) and (b). This court has supplemental


jurisdiction over the remaining claims under 28 U.S.C. § 1367 under the principles of pendent


jurisdiction because the state law claims are so related to the federal claims that they derive from


a common nucleus of operative fact.


        13.       This Court has personal jurisdiction over Woodland Hills because Woodland


Hills has engaged acts of unfair competition and deceptive trade practices in the State of Illinois,


has sold the Deceptive Products are within the State and within this judicial district and/or has


engaged in continuous and systematic activities in the state of Illinois and within this judicial


district.


        14.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

substantial part of the events that give rise to the claims occur within this District, the Defendant


has committed acts in this District, has significant contacts within this District, and the


Defendant’s offerings are directed at individuals in this District.


III.    FACTUAL BACKGROUND


            A.    SIGMA Marks and SIGMA America




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       15.       The SIGMA Marks include U.S. Registration No. 2204654 for cameras and


flash lighting units in Class 9; and U.S. Registration No. 960842 for photographic lenses and lens


adaptors in Class 9. The trademark application for the former trademark was filed in 1993 and


granted in 1998. The application for the latter was filed in 1971 and granted in 1973. The


SIGMA Marks for photographic lenses and lens adaptors have been used in commerce since as


early as 1965.


       16.       Both of these registrations are valid, subsisting, and in full force and effect.


       17.       Copies of the registration certificates, along with TSDR status reports showing


the current status for each registered SIGMA Marks are attached hereto as Exhibit A.


       18.       SIGMA Japan is the owner of the SIGMA Marks. SIGMA Japan has licensed


the SIGMA Marks exclusively to SIGMA America for use in the United States.


       19.       SIGMA America has continuously and carefully used the SIGMA Marks in

genuine SIGMA products’ advertisement, promotion, distribution, and repair/servicing for many


years, including but not limited to SIGMA America’s website at https://www.sigmaphoto.com/


and other online marketing platforms, through authorized U.S. dealers, trade journals, catalogs,


magazines, trade shows, and other means. SIGMA America’s use of the SIGMA Marks has


advanced SIGMA’s established goodwill and furthered positive consumer attitudes toward the


SIGMA brand in the United States. The SIGMA Marks are prominently featured on Genuine


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SIGMA Products, as well as the website listing of Genuine SIGMA Products, product packaging,


operating manuals, warranty information, and product literature, etc.


       20.       SIGMA America has invested significant time and resources in brand


management, such as advertisements and marketing of Genuine SIGMA Products in the United


States to associate the SIGMA Marks with the exceptional quality and high performance of


Genuine SIGMA Products.


       21.       Consumers in the United States have come to rely upon the quality and


reliability of products bearing the SIGMA Marks.


       22.       As a result, the SIGMA Marks are well-known and highly distinctive: being


used as unique identifiers of Genuine SIGMA Products. The SIGMA Marks have gained well-


deserved recognition and garnered strong goodwill throughout the United States.


       23.       SIGMA America ensures the quality of its genuine SIGMA products by

devising and implementing SIGMA America’s comprehensive warranty program, inspection,


customer care, conducting dealer selection and authorization, and controlling product


distribution. SIGMA America sells Genuine SIGMA Products directly online or through select


authorized dealers listed on SIGMA America’s website.


       24.       Further, to better protect its consumers, SIGMA America raises public


awareness and dedicates resources to educate the public as to the critical differences between


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Genuine SIGMA Products and unauthorized products (gray market products). See


https://www.sigmaphoto.com/register, a true and correct PDF of which is attached as Exhibit B.


       B.         Defendant’s Deceptive Conduct


                 1.    The Marketing and Sale of Materially Different Deceptive Products


       25.        Woodland Hills has distributed, marketed, advertised, promoted, offered for


sale and sold the Deceptive Products in the United States including online.


       26.        On information and belief, Woodland Hills has done so knowingly and in bad


faith, and has taken active and deliberate measures to mislead consumers into believing that the


Deceptive Products are the same as Genuine SIGMA Products.


       27.        In reality, the Deceptive Products are not authorized for distribution or sale in


the United States and are materially different from Genuine SIGMA Products.


       28.        The material differences between the Deceptive Products and Genuine SIGMA

Products include, but are not limited, to the following:


                  2.    Warranty Coverage


       29.        Purchasers of the Deceptive Products are not eligible for a warranty from


SIGMA America because the Deceptive Products are not accompanied by a U.S. warranty card,


and also because SIGMA America limits complimentary product repair to Genuine SIGMA


Products purchased from U.S. authorized SIGMA dealers. SIGMA America’s warranty covers


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Genuine SIGMA Products for a total of four years and protects against defects in manufacturing


and workmanship. Genuine SIGMA Products covered by SIGMA America’s warranty are


eligible for free service and repairs under appropriate conditions.


           30.    SIGMA America does not provide any warranties or benefits of any kind for


products that are not Genuine SIGMA Products (e.g., unlawful materially different gray market


products, including the Deceptive Products), and instead charges for repair services starting at


$250 plus parts and labor.


           31.    The Deceptive Products do not include a receipt from an authorized dealer in


the United States. Users of the Deceptive Products therefore may not register the Deceptive


Products at SIGMA America’s website and may not receive important product updates and


notices of product recalls. Also, the Deceptive Products are not provided the same authorized


repairs.

           32.    Notwithstanding the above, on information and belief, Woodland Hills


deliberately promotes, distributes, advertises, and offers for sale the Deceptive Products without


disclosing to consumers that these are not, in fact, Genuine SIGMA Products, or disclosing that


they are not covered by SIGMA America’s Warranty and customer services. On information and


belief, certain Woodland Hills consumers only learned that they purchased a Deceptive Product




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instead of a genuine SIGMA product upon receiving a defective product and contacting SIGMA


America for customer service.


       33.       In other circumstances, Woodland Hills apparently fails to respond to consumer


inquiries (e.g. requests for complimentary repair from authorized dealers or a replacement, under


SIGMA America’s warranty) received through Amazon for a substantial period of time and as a


result, makes an inquiring consumer ineligible for a free return under Amazon’s protection


program.


       34.       On information and belief, when consumers request a replacement, Woodland


Hills may sometimes disclose the lack of warranty and other post-sale services.


       35.       On information and belief, Woodland Hills rejects consumer requests for


delivery of a Genuine SIGMA Product, not a Deceptive Product.


       36.       On information and belief, Woodland Hills charges consumers a restocking fee

of 20% when customers decide to return defective, unwanted products such as the Deceptive


Products.


                  3.   Defective Products


       37.       SIGMA’s exquisite quality control system ensures that Genuine SIGMA


Products possess the highest quality and superior performance. As one example, SIGMA Japan’s


proprietary ultra-high-definition sensors are developed to be used for the evaluation of optical


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performance of SIGMA lenses. The quality and performance of Genuine SIGMA Products is


thus tested during a rigorous pre-shipment inspection before Genuine SIGMA Products leave


SIGMA’s manufacturing factory. SIGMA America and authorized dealers reconfirm product


quality by regularly conducting inspections and other quality control measures. SIGMA America


does not allow Genuine SIGMA Products to be shipped to customers in unsealed packaging or


unaccompanied by adequate accessories and manuals. SIGMA’s unique quality control programs


and exceptional efforts have been a critical part of the success of Genuine SIGMA Products in


the marketplace and have achieved today’s customer confidence and loyalty.


       38.       However, on information and belief, customers who purchased gray market


products from Woodland Hills Amazon Storefront have reported receiving products with a


jammed back cap, broken devices, items arriving damaged, ineligibility for free product repair or


device replacement, and other dissatisfaction with Woodland Hills’ gray market products. See

https://www.amazon.com/sp?ie=UTF8&seller=A3LTL8KVF3JJKW&asin=B01C3SCKI6&ref_=


dp_merchant_link&isAmazonFulfilled=1, a true and correct printout of which is attached as


Exhibit C.


                 4.    Poor Packaging


       39.       Genuine SIGMA Products are sold in sealed packaging with exterior product


descriptions that accurately inform consumers about the contents of the packaging. The


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packaging and labels prevent injuries from, mishandling of, and defects to Genuine SIGMA


Products.


       40.       Upon information and belief, Woodland Hills’ gray market products such as the


Deceptive Products have been received in boxes that were already opened, not sealed, and/or


were not in the original packaging. Exhibit C.


                  5.    Product Design


       41.       Genuine SIGMA Products are set up, explained, and labeled in English.


       42.       On information and belief, Woodland Hills’ gray market products such as the


Deceptive Products come with no guide or product service information in English. Exhibit C.


                  6.    Opened Box, Refurbished Products Instead of New Products


       43.       Genuine SIGMA Products include precision optical devices that are not


opened, refurbished, or used before leaving SIGMA America’s storage facility.

       44.       On information and belief, customers who believed they purchased new


products from Woodland Hills Amazon Storefront have instead received opened, refurbished,


damaged products. These consumers have called Woodland Hills’ operations fraudulent when


they receive products that are not up to their expectations and deviate from the specifications.


Exhibit C.




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       45.       On information and belief, the Deceptive Products are materially different from


Genuine SIGMA Products in at least the following aspects: the products do not include SIGMA


America warranty cards voiding any free repair through SIGMA America; the ineligibility for


consumers to utilize SIGMA America’s customer service; products are shipped in improper


packaging; and the products have demonstrated substandard product performance.


       46.       Customer complaints suggest that Woodland Hills does not utilize sufficient


quality control processes to protect and maintain the high quality of the SIGMA products.


       47.       Woodland Hills’ advertisement and distribution of Deceptive Products damages


the goodwill attached to the SIGMA Marks and SIGMA America’s valuable brand image. If


unrestrained, SIGMA America will continue to be harmed by Woodland Hills’ deceptive


advertisements, misleading and false statements, and poor customer service.


       48.       According to publicly available complaints online, aggrieved Woodland Hills

customers further report additional deceptive business practices, such as false descriptions and


misinformation about characteristics of the Deceptive Products, such as warranty coverage. See,


e.g., a third party customer Google Review a true and correct PDF of which is attached as


Exhibit D.


       49.       On August 26, 2024, counsel for SIGMA sent a cease-and-desist notice to


Woodland Hills, requesting that Woodland Hills cease the unlawful activities described herein no


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later than September 5, 2024. Woodland Hills did not respond, and upon information and belief,


did not cease or otherwise abate its offer and sale of the Deceptive Products.


       50.        Woodland Hills’ unauthorized use of the SIGMA Marks in offering the


Deceptive Products confuses consumers in the United States as to the source, sponsorship,


geographical origin, affiliation, characteristics, quality, and authenticity of the Deceptive


Products, which are materially different from Genuine SIGMA Products and not genuine.


       51.        Woodland Hills harms SIGMA America and the public by placing


unauthorized, materially different, Deceptive Products in the U.S. commerce, in a manner that


confuses consumers as to the source, sponsorship, geographical origin, or affiliation of those


products. Exhibit E.


       52.        Woodland Hills has caused and, unless enjoined by the Court, will continue to


cause reputational damage to SIGMA America, including when a consumer purchases a

Deceptive Product and later learns that the Deceptive Product is not intended or authorized for


U.S. distribution and not covered by any U.S. warranty.


       53.        On information and belief, Woodland Hills intentionally acquires and


distributes the Deceptive Products through these fraudulent, malicious, willful, and wanton


business practices.




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                                               COUNT I

     Federal Unfair Competition, False Description, and False Designation of Origin Under
                                     15 U.S.C. § 1125(a)

       54.        SIGMA America repeats and re-alleges paragraphs 1 – 53 above, as if fully set


forth herein.


       55.        The SIGMA Marks are valid, longstanding, and famous.


       56.        SIGMA America has exclusive rights in the SIGMA Marks in the United States


pursuant to its license agreement with SIGMA Japan.


       57.        Woodland Hills cannot claim any legitimate rights in the SIGMA Marks, and


even if they could, SIGMA America’s rights in the SIGMA Marks accrued and would pre-date


any rights such rights.


       58.        Woodland Hills’ unlawful advertising, distribution, and/or sale of Deceptive


Products using the SIGMA Marks constitutes a false designation of origin, false or misleading

description of fact, or false or misleading representation of fact which is likely to cause


confusion, mistake, or to deceive as to the affiliation, connection, sponsorship, or approval by


SIGMA, because Woodland Hills’ use of the SIGMA Marks falsely indicates that the Deceptive


Products are Genuine SIGMA Products, which they are not. In addition, Woodland Hills’ acts in


commercial advertising or promotion, misrepresent the nature, characteristics, qualities, or origin


of its products to suggest that the Deceptive Products originate from, are sponsored by, and/or


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approved by SIGMA, when in fact they are not. SIGMA does not approve or warrant the quality


and authenticity of the Deceptive Products. Woodland Hills’ conduct thereby likely confuses,


deceives, and/or misleads the public.


           59.    Further, Woodland Hills’ use of the SIGMA Marks in the Deceptive Products


falsely represents that Woodland Hills is affiliated with and authorized by SIGMA, when in fact


it is not. SIGMA does not have any affiliation with or confer authorized dealership to Woodland


Hills. Woodland Hills’ conduct thereby likely confuses, deceives, and/or misleads the public.


           60.    Moreover, Woodland Hills’ advertising, distribution, sale, and servicing of the


Deceptive Products constitutes a false advertising, because Woodland Hills falsely indicates that


the Deceptive Products are Genuine SIGMA Products that have equivalent characteristics (new,


unopened, unused, operability, usability, inclusion of accessories, U.S. warranty cards, English


set up, and specification) and qualities (fault-free, precise, high performance), when in fact they

are not.


           61.    The Deceptive Products have materially different characteristics and quality


from Genuine SIGMA Products. Woodland Hills’ conduct thereby likely confuses, deceives,


and/or misleads the public.


           62.    Woodland Hills uses the SIGMA Marks and sells the Deceptive Products with


full knowledge of the following facts: the SIGMA Marks are exclusively associated with SIGMA


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and exclusively designate Genuine SIGMA Products; the Deceptive Products do not originate


from SIGMA America, are not sponsored by, or approved by SIGMA; Woodland Hills is


unaffiliated with and unauthorized by SIGMA; and the Deceptive Products are materially


different from genuine SIGMA products. On information and belief, Woodland Hills’ acts of


unfair competition are willful and deliberate with an intent to usurp the goodwill, brand image,


and valuable reputation of SIGMA and the SIGMA Marks all to the determinant of SIGMA


America.


         63.     Woodland Hills unlawfully advertises, distributes, and sells Deceptive Products


using the SIGMA Marks and representing that they are genuine SIGMA products, in violation of


Section 43(a)(1) of the Lanham Act, 15 U.S.C. § 1125(a)(1).


         64.     Woodland Hills’ acts as described herein have also caused SIGMA America to


suffer monetary harms in an amount to be determined at trial.

         65.     As a result of the alleged unfair competition by Woodland Hills, SIGMA


America has suffered and will continue to suffer damage to its business, goodwill, reputation,


and profits, while Woodland Hills realizes unlawful profits. Woodland Hills has caused and is


causing irreparable injury to SIGMA America and will continue to damage SIGMA America and


deceive the public unless enjoined by this Court. SIGMA America has no adequate remedy at


law.


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                                       COUNT II
                               Common Law Unfair Competition


       66.        SIGMA America repeats and re-alleges paragraphs 1 – 65 above, as if fully set


forth herein.


       67.        Woodland Hills’ unlawful advertising, distribution, and sale of the Deceptive


Products constitutes a false designation of origin, sponsorship, and approval by SIGMA because


Woodland Hills’ use of the SIGMA Marks falsely indicates that the Deceptive Products are


genuine SIGMA products that originate from, are sponsored by, and/or approved by SIGMA,


when in fact they are not. Also, Woodland Hills’ use of the SIGMA Marks in the Deceptive


Products falsely represents that Woodland Hills is affiliated with and/or authorized by SIGMA,


when in fact it is not. Woodland Hills’ advertising, distribution, sale, and servicing of the


Deceptive Products constitutes a false advertising, because Woodland Hills falsely indicates that


the Deceptive Products have equivalent characteristics (new, unopened, unused, operability,


usability, inclusion of accessories, U.S. warranty cards, English set up, label, and specification)


and quality (fault-free, high performance, precision) with Genuine SIGMA Products, when in


fact they are not. Woodland Hills’ conduct is thereby likely to confuse, deceive, and/or mislead


the public.




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       68.        Woodland Hills has used the SIGMA Marks and sold the Deceptive Products


with full knowledge that the SIGMA Marks are associated exclusively with SIGMA and have


been exclusively used to designate genuine SIGMA products. On information and belief,


Woodland Hills knew that its use of the SIGMA Marks in the Deceptive Products would lead to


consumer confusion, unfair advantage to Woodland Hills, at SIGMA’s expense. Woodland Hills’


acts of unfair competition are willful and deliberate with the intent to reap the benefit of the


inherent goodwill and reputation associated with the SIGMA Marks.


       69.        Woodland Hills’ sale and distribution of the Deceptive Products constitutes


common law unfair competition by passing off, misappropriation and unprivileged imitation


under common law.


       70.        Woodland Hills’ acts as described herein have also caused SIGMA America to


suffer monetary harms in an amount to be determined at trial.

       71.        Woodland Hills has caused irreparable harm to SIGMA America and to its


goodwill and reputation and will continue to damage, confuse, and deceive the public unless


enjoined by this Court. SIGMA America has no adequate remedy at law, injunctive relief is


warranted, and the public interest would be served by enjoining Woodland Hills’ sale of the


Deceptive Products.




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                                            COUNT III

 Deceptive Trade Practices Under Illinois’ Uniform Deceptive Trade Practices Act, Illinois
                             Code Chapter 815 ILCS 510/2


       72.       SIGMA America repeats and re-alleges paragraphs 1 – 71 above, as if fully set


forth herein.


       73.       Woodland Hills’ distribution, marketing, promotion, offer for sale, and sale of


the Deceptive Products, with use of the SIGMA Marks is deceptive and harmful to consumers


and SIGMA because Woodland Hills advertises, represents, and indicates the Deceptive Products


as Genuine SIGMA Products, when in fact they are materially different from Genuine SIGMA


Products.


       74.       Woodland Hills passes off the Deceptive Products as goods of SIGMA, under


the guise that the Deceptive Products are Genuine SIGMA Products, when in fact they are not


Genuine SIGMA Products.


       75.       Woodland Hills’ misleading statements and/or outright misrepresentations


regarding the Deceptive Products cause confusion or misunderstanding among consumers as to


the source, sponsorship, approval of the Deceptive Products because consumers believe that the


Deceptive Products are Genuine SIGMA Products, when in fact they are not Genuine SIGMA


Products.




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       76.        Woodland Hills’ untrue statements and/or outright misrepresentations regarding


the Deceptive Products cause confusion or misunderstanding among consumers as to affiliation,


connection, or association with SIGMA because consumers form misbeliefs that the Deceptive


Products are Genuine SIGMA Products, when in fact they are not Genuine SIGMA Products.


       77.        Woodland Hills’ deceptive statements regarding the feature of the Deceptive


Products cause confusion or misunderstanding among consumers as to their geographic origin.


Woodland Hills makes statements to make consumers believe that the Deceptive Products were


originating from the United States, when in fact they are not originating from the United States.


       78.        Woodland Hills makes confusing statements and/or outright misrepresentations


regarding the characteristics, benefits, or quality of the Deceptive Products because Woodland


Hills’ statements and/or representations are untrue and deceptive as to the nature of its Deceptive


Products, stating that the Deceptive Products have equivalent characteristics (new, unopened,

unused, operability, usability, inclusion of accessories, U.S. warranty cards, English set up, label,


and specification) and quality (fault-free, high performance, precision) with Genuine SIGMA


Products, when in fact they do not.


       79.        Woodland Hills has willfully engaged in deceptive acts and unfair practices in


the conduct of business and furnishing of goods that have injured SIGMA America within the


meaning and in violation of the Illinois Code Chapter 815 ILCS 510/2.


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       80.        The conduct of Woodland Hills described above, has caused, and if not


enjoined, will continue to cause irreparable damage to the rights of SIGMA and the goodwill,


reputation, and brand image of SIGMA when Woodland Hills usurps unlawful significant profits


by distributing the Deceptive Products. SIGMA America has no adequate remedy at law.


       81.        SIGMA America has also suffered monetary harms in an amount to be


determined at trial.


                                       PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully requests that the Court enter judgment as follows:


1.     That the Court issue a permanent injunction restraining Defendant and any of its


       affiliates, officers, agents, employees, representatives, servants, successors and assigns,


       and all others in privity or active concert with any of them, and each of them who


       receives notice directly or otherwise of such injunction, from:

       i.      using the SIGMA Marks through the marketing, distribution, offering for sale,


               sale, and/or promotion in the United States of Deceptive Products as defined


               herein or any products bearing the SIGMA Marks that are not offered for sale and


               use in the United States by Plaintiff;


       ii.     using any false designation of origin or false description, or performing any act


               which is likely to lead members of the trade or public to believe that any


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              Deceptive Product distributed, advertised, or sold by Defendant is in any manner


              associated or connected with Plaintiff, or is sold, manufactured, licensed,


              sponsored, approved, or authorized by Plaintiff;


       iii.   engaging in deceptive trade practices, and from further engaging in any other


              activity constituting unfair competition with Plaintiff;


2.     That the Court issue an order:


       i.     directing Defendant, pursuant to 15 U.S.C. § 1118, to deliver to Plaintiff’s counsel


              for destruction all Deceptive Products bearing the SIGMA Marks, and any


              variants thereof or any name or mark confusingly similar thereto, including all


              labels, product packaging, inserts, advertisements, promotional material,


              wrappers, and receptacles related thereto;


       ii.    awarding Plaintiff of the amount of Defendant’s profits;

       iii.   awarding to Plaintiff interest, including pre-judgment interest, on the foregoing


              sums;


       iv.    awarding to Plaintiff its costs in this civil action, including reasonable attorneys’


              fees and expenses, pursuant to 15 U.S.C. § 1117(a);


       v.     awarding to Plaintiff damages three times the amount of actual damages, as the


              Court finds appropriate;


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       vi.     directing Defendant, pursuant to 15 U.S.C. § 1116, to file with this Court and


               serve upon Plaintiff’s counsel within thirty (30) days after entry of judgment a


               report in writing under oath, setting forth in detail the manner and form in which


               it has complied with the above;


       vii.    directing such other action as the Court may deem appropriate to prevent the trade


               and public from deriving the erroneous impression that any Deceptive Products


               advertised, offered, or promoted by or on behalf of Defendant are authorized,


               affiliated, or sponsored by Plaintiff or corresponding in any way to Genuine


               SIGMA Products sold under the SIGMA Marks in the United States; and,


3.     The Court order such other relief as it determines is just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all issues so triable.

 Dated: October 29, 2024                  By: /s/ Tiffany D. Gehrke
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